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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—
                                      GENERAL

 Case No.      5:24-cv-02544-SSS-DTBx                         Date February 18, 2025
 Title Maricela Gonzalez Andraca v. Mercedes Benz USA, LLC, et al.



 Present: The Honorable        SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


               Irene Vazquez                                   Not Reported
                Deputy Clerk                                   Court Reporter

    Attorney(s) Present for Plaintiff(s):           Attorney(s) Present for Defendant(s):
                None Present                                   None Present


 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE
              REGARDING DOE DEFENDANTS

       On November 7, 2024, Plaintiff Maricela Gonzalez Andraca filed her Notice
of Removal in which numerous Doe defendants are listed. [See Dkt. 1-1,
Complaint, at 3 ¶¶ 5]. As of the date of this order, there is no evidence in the
record to show Plaintiff has timely served these defendants under Federal Rule of
Civil Procedure 4(m).

      Accordingly, Plaintiff is ORDERED TO SHOW CAUSE why the Doe
defendants should not be dismissed for failure to name and serve a copy of the
summons and Complaint on these defendants. Plaintiff must respond in writing by
March 21, 2025. Failure to respond will result in a dismissal of the Doe
Defendants under Federal Rule of Civil Procedure 41(b) for failure to prosecute
and failure to obey court orders.

       IT IS SO ORDERED.




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